        Case 1:15-cv-07433-LAP Document 1322 Filed 01/04/24 Page 1 of 1




                                         January 4, 2024

VIA ECF

The Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Giuffre v. Maxwell, Case No. 15-cv-7433-LAP

Dear Judge Preska,

       Plaintiff is filing a revised version of docket entry 235-13 pursuant to the Court’s January
4, 2024, email correspondence with counsel.

                                             Respectfully,

                                             /s/ Sigrid S. McCawley
                                             Sigrid S. McCawley


       cc: Counsel of Record (via ECF)
